The sole question presented on this appeal may be stated as follows: Where the jury returns a verdict for plaintiff for one dollar in a case where the evidence as to liability is in sharp conflict, but the evidence as to damages in a substantial amount is clear and undisputed, should plaintiff be granted a new trial on the sole ground that if plaintiff is entitled to any damages she is entitled to more than one dollar? That question has never been decided by this court. It has, however, been the subject of numerous decisions in other states. These authorities hold that such a verdict is in effect a verdict for the defendant, and that a new trial should not be granted. After rigorous and exhaustive search we have not been able to find a single analogous case where this point was raised which failed to hold that the verdict was in effect a verdict for defendant, and that a new trial should not be granted. The case most closely analogous to this case is Rubinson v. Des Moines City Ry. Co., 191 Iowa, 692,182 N.W. 865. (See, also, Hubbard v. Incorporated Town ofMason City, 64 Iowa, 245, 20 N.W. 172; Talty v. City ofAtlantic, 92 Iowa, 135, 60 N.W. 516; Snyder v. Portland Ry.Light  Power Co., 107 Or. 673, 215 P. 887; Fulmele v.Forrest, 27 Del. (4 Boyce) 155, 86 A. 733; Shipley v.Virginia Ry. Co., 87 W. Va. 139, 104 S.E. 297; Haffner v.Cross, 116 W. Va. 562, 182 S.E. 573; Vanek v. Chicago GreatWestern R. Co., 252 Fed. 871; Sullivan v. Wilson, (Mo.App.)283 S.W. 743; Rawle v. McIlhenny, 163 Va. 735, 177 S.E. 214, 98 A.L.R. 903.)
The authorities cited by appellant are not applicable to the case at bar. It is apparent that a different rule should apply to a case where a motion for a new trial has been denied by the *Page 600 
trial judge, than to a case where a new trial has been granted. The reason why an appellate court will not disturb an order overruling a motion for a new trial, made by the trial judge, where there is substantial evidence to support the verdict, even though the verdict is apparently against the weight of evidence, is, that the trial judge has seen and heard the witnesses, and had an opportunity to judge of their credibility and the weight to be given to their testimony. For this reason the appellate court will not disturb an order overruling a motion for a new trial where there is substantial evidence to support the verdict, and there is no abuse of discretion by the trial judge. The same rule is applied by the appellate court where the trial judge grants a motion for a new trial. (See 17 C.J. 1089.)
Whatever the rule may be in other jurisdictions, from the beginning to the latest declaration we have found on the matter, this court has been committed to the rule that: "The rule is established in this jurisdiction that the power to grant or deny a motion for a new trial is within the sound legal discretion of the trial court (Brunnebend v. Tibbles, 76 Mont. 288,246 P. 536), and its action will not be disturbed unless there has been a manifest abuse of discretion. (State v. Anderson,92 Mont. 313, 13 P.2d 228.)" (Wibaux Realty Co. v. NorthernP. Ry. Co., 101 Mont. 126, 139, 54 P.2d 1175; Maki v.Murray Hospital, 91 Mont. 251-260, 7 P.2d 228; State v.Schoenborn, 55 Mont. 517, 179 P. 294; Bull v. Butte Elec.Ry. Co., 69 Mont. 529, 223 P. 514; Norton v. Great NorthernRy. Co., 78 Mont. 273, 254 P. 165; Brennan v. Mayo,100 Mont. 439, 50 P.2d 245.)
In the case of Odell v. Holloway, 86 Mont. 579, 583,284 P. 545, the court held: "The jury may not disregard undisputed credible evidence and if they do, the court is authorized to set the verdict aside and grant a new trial." (See, also, Flaherty
v. Butte Elec. Ry. Co., 42 Mont. 89, 111 P. 348; Landsman
v. Thompson, 9 Mont. 182, 22 P. 1148; Daigle v. Rudebeck,154 Wash. 536, 282 P. 827; Daniels v. Hansen, 128 Kan. 251,276 P. 819.) *Page 601 
The supreme court of California has repeatedly held that it would affirm an order of the trial court granting a new trial without regard to reasons that may have been assigned therefor, where the action of the lower court was well taken. (Thompson
v. Felton, 54 Cal. 547; In re Crozier, 74 Cal. 180,15 P. 618; People v. Crowley, 56 Cal. 36, 39; Wakeham v.Barker, 82 Cal. 46, 22 P. 1131.)
This in an action for personal injuries sustained by plaintiff as a result of alleged negligence on the part of defendant. She asked for general damages in the sum of $15,000, and for special damages of $5,000 for loss of earnings, $500 for physician's services, $48 for hospitalization and X-rays and $200 for services of a nurse.
The answer was a general denial and an affirmative plea of contributory negligence on the part of plaintiff. The reply denied the affirmative allegations of the answer. The evidence was undisputed that as a result of the injuries sustained by plaintiff she was obligated to pay $48 for hospital services and X-rays and a doctor bill for $175. There was sharp conflict in the evidence on the issue of defendant's negligence and plaintiff's contributory negligence. The jury returned the following verdict: "We, the jury in the above entitled action find our verdict for the plaintiff and assess plaintiff's damages in the sum of $1.00 One Dollar — 00/100." Judgment was entered accordingly.
Plaintiff on May 28, 1938, and within the time allowed by law therefor, moved for a new trial upon the following grounds:
"1. Irregularity in the proceedings of the jury;
"2. Insufficiency of the evidence to justify the verdict;
"3. That the verdict is against law;
"4. Error in law, occurring at the trial, and accepted to by the plaintiff." *Page 602 
The motion was argued and submitted to the court on June 7. On June 22 the motion was granted in general terms. Thereafter, and on June 24, there was filed the following order:
"Plaintiff, Jessie Hicks, having heretofore filed her motion for new trial herein and said motion having come on duly to be heard on the 7th day of June, 1938, and the same having been argued by counsel for the respective parties on said date and by the Court taken under advisement, and the Court having duly considered the same and being fully advised in the premises.
"It is ordered that the said motion be, and the same is hereby granted upon the sole ground that if the plaintiff was entitled to recover any damages in this case such damages under the evidence would be an amount in excess of One Dollar ($1.00).
"This order is signed nunc pro tunc as of June 22, 1938."
Defendant has appealed from both orders granting a new trial.[1]  Plaintiff made a cross-assignment of error, questioning the validity of the nunc pro tunc order filed on June 24. Her contention on this point is that since the 15-day period within which a motion for new trial must be decided had elapsed on June 22 (sec. 9400, Rev. Codes), the order filed on June 24th was a nullity. Under the view we take of the case it is unnecessary to discuss that feature of the case.
If the order of June 24 can be resorted to for any purpose, it is simply to show what prompted the trial court to grant the motion for a new trial, and as indicating that other grounds asserted in the motion for a new trial were in effect overruled. (Ebaugh v. Burns, 65 Mont. 15, 210 P. 892.)
Assuming, without deciding, that we may resort to the nunc[2]  pro tunc order for these purposes, we still believe that the court was warranted in granting a new trial. Defendant takes the position that the verdict, being for nominal damages only, was in effect a verdict for defendant, and since the evidence was such that a verdict for defendant would have been proper, a new trial should not be granted on plaintiff's motion. There are cases supporting this contention. (Rubinson v. Des Moines CityR. Co., 191 Iowa, 692, 182 N.W. 865; Hubbard v. Incorporated *Page 603 Town of Mason City, 64 Iowa, 245, 20 N.W. 172; Talty v. Cityof Atlantic, 92 Iowa, 135, 60 N.W. 516; Snyder v. PortlandRy. Light  Power Co., 107 Or. 673, 215 P. 887; Fulmele v.Forrest, 4 Boyce (27 Del.) 155, 86 A. 733; Haffner v.Cross, 116 W. Va. 562, 182 S.E. 573; Shipley v. Virginia R.Co., 87 W. Va. 139, 104 S.E. 297.) Applying the same rule where the award was $5,000: Vanek v. Chicago etc. R. Co., (D.C.) 252 Fed. 871; Sullivan v. Wilson, (Mo.App.) 283 S.W. 743. On the other hand, there are cases taking the contrary view. Thus, in Bass Furniture  Carpet Co. v. Electric Supply Co.,101 Okla. 293, 225 P. 519, there was a verdict for plaintiff for $1. The action was for damages to property caused by alleged negligence of defendant. Defendant denied negligence and pleaded contributory negligence on the part of plaintiff. The uncontradicted evidence showed that the value of the real property destroyed was $3,400 and of the furniture $24,000. The court said:
"The evidence is convincing and clear that a substantial loss amounting to many thousand dollars was sustained by the plaintiff by reason of the fire, and if the plaintiff was entitled to recover at all it was entitled to recover substantial damages, and not nominal damages.
"The defendant contends that the verdict for $1, should be treated as a finding for the defendant on the question of liability, and that such finding is supported by the evidence, as there was no sufficient evidence to justify the jury in finding that the fire was caused by the negligence of the defendant, and that the negligence of the plaintiff contributed thereto. While some authority can be found to support this contention, we believe the better rule has been announced in Miller v.Miller, 81 Kan. 397, 105 P. 544, as follows: `In an action to recover the value of personal services, it was not disputed that services of substantial value were rendered, but it was claimed by the defendant that they were to be gratuitous. On this issue the evidence was conflicting, and the jury returned a verdict for the plaintiff, assessing his damages at $1. Held, that the verdict is inconsistent, *Page 604 
and that it should have been set aside on the plaintiff's motion, based upon the ground that the recovery was too small.'"
Continuing, the court said: "In the instant case the verdict of the jury was a finding against the plaintiff [meaning defendant] on the question of liability for the loss sustained by the plaintiff, and there was sufficient evidence to support that finding. The amount of the verdict, however, cannot be justified by the evidence, and the verdict should have been set aside and a new trial granted."
In San Giuliano v. Black  White Cab Co., 7 N.J. Misc 448, 145 A. 872, plaintiff recovered a verdict for $3. The court in granting a new trial said: "By its verdict the jury declared that the driver of the defendant's cab was guilty of negligence causing the accident and that the boy did not contribute thereto by his own negligence. This is a necessary conclusion to be reached upon the finding that the plaintiff was entitled to recover. If this finding is justified by the evidence, the award of $3 as compensation for the boy's injuries is entirely without justification, in view of the medical testimony in the case; and the verdict ought to be set aside for that reason." To the same effect is Klotz v. Mango, 6 N.J. Misc. 373, 141 A. 164.
In McKibben v. Anthony, 185 S.C. 459, 194 S.E. 446, 447, the court was dealing with a $1 verdict for punitive and actual damages, and said: "We have read with care the record in the case at bar; and while it is true that the testimony is in sharp conflict as to the cause of the collision, the jury by their verdict said that the defendants were guilty of the delict charged; that is to say, that the injuries suffered by the plaintiffs were proximately caused by the negligent and willful acts of the defendants. The plaintiffs proved, as the evidence discloses, that their damages were substantial. The jury, therefore, as held by Judge Johnson, did not adequately remunerate them for their damages, pain, and suffering; the verdict being grossly inadequate. Upon full consideration, we find no abuse of discretion on the part of the presiding judge in granting the new trial." *Page 605 
In Gunderson v. Danielson 169 Minn. 399, 211 N.W. 471, the supreme court held that the trial court erred in denying a new trial where the jury awarded $1 damages when plaintiff, if entitled to anything, was entitled to substantial damages. The court said: "The jury found liability. It seems to us that there was a fatal inconsistency in finding liability and fixing the damages at $1. Obviously the jury compromised damages with liability, disregarding the principles upon which a proper recovery must rest." To the same effect is Daniels v. Hansen,128 Kan. 251, 276 P. 819, where there was a verdict for $1.
The reasons given by the supreme court of Iowa in sustaining the trial court's order granting a new trial in a $1 verdict in the case of Herrman v. O'Connor, 209 Iowa, 1277,227 N.W. 584, 585, would indicate that that court has departed from its earlier rulings in the cases cited above. In the last cited case it said: "If appellee was entitled to recover at all as found by the jury the amount of recovery should necessarily have been much greater than that fixed by the jury."
Other cases ruling that a new trial is proper when a $1 verdict is awarded and where the plaintiff was entitled to more, if anything, are the following: Riggs v. Smith, 52 Idaho, 43,11 P.2d 358; Clark v. Spurdis, (Tex.Civ.App.)258 S.W. 881; Smith v. Kansas City, (Mo. Sup.) 184 S.W. 82; Travers
v. Macon Ry.  Light Co., 19 Ga. App. 15, 90 S.E. 732. InBrown v. Wyman, 224 Mich. 360, 195 N.W. 52, an order denying a new trial in a case where a six-cent verdict was rendered, was reversed. A $1 verdict was before the supreme court of Arkansas in the case of Martin v. Kraemer, 172 Ark. 397, 288 S.W. 903,904, and the court said: "Counsel for appellee contend that, the evidence being conflicting on the question of responsibility for the collision, the verdict of the jury was a mere compromise, and that this accounts for the fact that the jury awarded only nominal damages. This is not, however, a correct interpretation of the verdict, and the conflict therein cannot be reconciled in that way. We can only treat the verdict as settling the question of liability, and, if the amount of damages *Page 606 
fixed by the jury was supported by substantial testimony, we would affirm the judgment, but such is not the case. The undisputed evidence is that the damage amounted to at least $47, and, according to the testimony adduced by appellant, it amounted to considerably more than that sum. Under similar conditions, this court has reversed judgments of trial courts."
We cannot regard the verdict as one for defendant; to do so is to change the verdict. The jury presumptively were furnished with a form verdict for defendant, but declined to sign it. They signed a verdict for plaintiff. We must accept that as fixing defendant's liability, or else find the jury guilty of misconduct or irregularity. If we find the jury guilty of misconduct or irregularity, then that itself is a ground for a new trial. However we construe the verdict, we cannot say that the trial court erred in granting the motion for new trial. The trial judge treated the verdict as one for plaintiff so far as defendant's liability was concerned, and doubtless felt that he was warranted in so doing.
For an additional reason we must affirm the action of the trial court. The statement in the nunc pro tunc order — if it is proper for us to resort to it at all — does not show definitely the ground upon which the motion for new trial was granted. It had to be granted if at all, upon one or the other of the four grounds specified in the motion set out above. If the motion was granted on the second ground, as it seems to us most likely from the statement in the nunc pro tunc order, then it involved the exercise of discretion on the part of the trial court which we will not overturn in the absence of an abuse thereof. (Bull v. Butte Elec. R. Co., 69 Mont. 529,223 P. 514; see, also, Brennan v. Mayo, 100 Mont. 439,50 P.2d 245, and cases cited.)
The order is affirmed.
MR. CHIEF JUSTICE JOHNSON and MR. JUSTICE ERICKSON concur.
ASSOCIATE JUSTICES MORRIS and STEWART concur in the result. *Page 607 